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 1                                                               Judge Robart
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 7                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT SEATTLE
 9   UNITED STATES OF AMERICA,               )
                                             )     NO. CR04-549 JLR
10                       Plaintiff,          )
                                             )
11            v.                             )     ORDER CONTINUING
                                             )     TRIAL DATE
12   MAJOR SINGH DHANOA,                     )
     RASHPAL SINGH SANDHU,                   )
13                                           )
                         Defendants.         )
14                                           )
                                             )
15
             This matter having come before the undersigned Court through by oral
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     motion of counsel, Peter Offenbecher, for defendant Major Singh Dhanoa,
17
     Michael Filipovic, for defendant Rashpal Singh Sandhu, and the United States of
18
     America, through Ye-Ting Woo, Assistant United States Attorney the United
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     States Attorney for the Western District of Washington, on February 21, 2006; the
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     Court being fully advised in the matter, having heard the position and reasons for
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     a trial continuance by defense counsel on behalf of their clients, and having
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     considered the files and records herein, now finds that,
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             Trial is scheduled for March 28, 2006. The defendants are waiving their
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     speedy trial rights until April 24, 2006, which is beyond the new trial date of April
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     18, 2006. The motion to continue the trial date is based on the following
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     reasons:
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     ORDER CONTINUING TRIAL/DHANOA AND SANDHU - 1                            UNITED STATES ATTORNEY
     CR04-549 JLR                                                             700 Stewart Street, Suite 5220
                                                                             Seattle, Washington 98101-1271
                                                                                      (206) 553-7970
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 1           1.     This Court has granted defendant Dhanoa’s motion for foreign
 2   depositions (trial preservation) of defense witnesses, Gulwinder Tatla and
 3   Shalwinder Dhaliwal, both of whom are located in Canada. Parties are making
 4   diligent efforts to make arrangements to conduct the foreign depositions and need
 5   additional time to prepare for and conduct the depositions.
 6           2.     The defendants have filed numerous pre-trial motions. The Court
 7   has yet to determine the merits of the motions and whether an evidentiary hearing
 8   and oral argument are necessary. The pre-trial motions include motions for
 9   severance, which are opposed by the government, however, if granted, will affect
10   the manner in which the trial proceeds. A short continuance of the trial date will
11   allow the Court and the parties an opportunity to make any necessary changes to
12   the trial procedure.
13           3.     A short trial continuance will allow the parties to complete discovery
14   and resolve, as much as possible, pre-trial issues, as well as provide the
15   defendants with additional time to prepare their defenses. Defendant Sandhu’s
16   attorney, Michael Filipovic, has advised the Court that he is prepared to proceed
17   to trial on or after March 28, 2006, but does not object to a short continuance.
18           4.     Defendants Major Singh Dhanoa and Rashpal Singh Sandhu are
19   both out of custody, on bond, pending trial. Their liberty interests are less
20   affected by this continuance. They have each advised their counsel that they
21   agree with the continuance.
22           5.     All counsel have been diligent in addressing this matter but all
23   parties believe that this continuance is proper.
24           6.     The continuances are necessary to ensure effective representation
25   and continuity of counsel for the remaining defendants.
26           7.     Speedy trial time between the Court’s prior Order continuing trial
27   date and the current trial date of March 28, 2006, has been excluded from the
28   calculation of speedy trial.

     ORDER CONTINUING TRIAL/DHANOA AND SANDHU - 2                            UNITED STATES ATTORNEY
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 1           The Court is aware that time limitations for trial and speedy trial concerns
 2   are set forth in Title 18, United States Code, Section 3161.
 3           Section 3161(h) outlines the periods of excludable time, including:
 4                  (8)(A) Any period of delay resulting from a continuance
                    granted by any judge on his own motion or at the
 5                  request of the defendant or his counsel or at the request
                    of the attorney for the Government, if the judge granted
 6                  such continuance on the basis of his findings that the
                    ends of justice served by taking such action outweigh
 7                  the best interest of the public and the defendant in a
                    speedy trial. No such period of delay resulting from a
 8                  continuance granted by the court in accordance with this
                    paragraph shall be excludable under this subsection
 9                  unless the court sets forth, in the record of the case,
                    either orally or in writing, its reasons for finding that the
10                  ends of justice served by the granting of such
                    continuance outweigh the best interests of the public
11                  and the defendant in a speedy trial.
12           In this matter, the Court finds that further time is reasonable and necessary
13   and that the requested time is within the speedy trial time period. Failure to grant
14   a continuance of the trial date would likely result in a miscarriage of justice. The
15   interests of the public and the defendants in a speedy trial in this case are
16   outweighed by the ends of justice.
17           NOW, therefore, the trial date is continued from March 28, 2006 until
18   April 18, 2006, and the time between this date and the new trial date be excluded
19   pursuant to the provisions of Title 18, United States Code, Sections 3161(h)(8)(A)
20   as to each defendant.
21           Dated this 2nd day of March, 2006.
22                                      s/James L. Robart
23                                      THE HONORABLE JAMES L. ROBART
                                        United States District Court Judge
24
     Presented by:
25   /s/
     Ye-Ting Woo, Assistant United States Attorney
26   Bar No. 21208
     700 Stewart Street, Suite 5220
27   Seattle, Washington 98101
     Phone: 206-553-2268, Fax: 206-553-4440
28   Email: Ye-Ting.Woo@usdoj.gov

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